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     Exhibit 389
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·7· · ·       1/2/2021: Weekly Briefing - Christina Bobb
              Interviews Rudy Giuliani
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·9
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            https://app.criticalmention.com/app/#clip/
11          view/74ed09be-0f2b-4c14-b9de-0ca0ad59952b?
            token=76f4002c-113c-4d95-b318-b3fe81b0c8b5
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23· Transcribed by:
24· Charlotte Crandall
25· RPR, FPR


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·1· · · · · · OAN SPEAKER:· --· in the 2020 election.· This
·2· week Christina sat down with President Trump's lawyer,
·3· Mayor Rudy Giuliani.
·4· · · · · · CHRISTIANA BOBB:· Sir, thank you so much for
·5· joining me.
·6· · · · · · RUDY GIULIANI:· You're welcome.
·7· · · · · · CHRISTIANA BOBB:· So I know you've been front
·8· center and fighting really hard for President Trump on
·9· the legal efforts.· Can you tell us where we're at and
10· where you see, you know, the next few days and maybe
11· weeks going.
12· · · · · · RUDY GIULIANI:· Well, I mean, the real key to
13· this is state legislature, and four or five that have
14· the evidence that the election was stolen from President
15· Trump, the only which way I can put it.· There were
16· numerous acts of fraud amounting to hundreds of
17· thousands of votes that were stolen from him which you
18· can clearly demonstrate were -- well, they give an
19· example in Pennsylvania.· 168,722 votes were entered
20· secretly, surreptitiously without any observation by
21· Republicans of the mail-in ballots as not only the law
22· requires, but common sense would say you have to do that
23· in order to avoid fraud.· Those ballots are all illegal.
24· That more than overcomes the margin in Pennsylvania and
25· means that Trump won Pennsylvania, not Biden.


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·1· · · · · · CHRISTIANA BOBB:· Right.· President Trump has
·2· been tweet out this week over 205,000 --
·3· · · · · · RUDY GIULIANI:· There are more votes -- there
·4· are more ballots than there are official ballots.· There
·5· are dead people who voted in large, large numbers.
·6· There are overvotes in precincts meaning more people
·7· voted than are registered in the precinct.· In some
·8· cases more people voted than lived in the precinct.
·9· · · · · · Philadelphia probably leads the country in
10· cheating.· I mean, there's no doubt about it.
11· Detroit is a close second.· In Detroit you've got
12· proof of a hundred thousand ballots that were brought
13· in in the middle of the night.· They were basically
14· all for Biden.· There were three witnesses who
15· demonstrate that, and it's also backed up by
16· scientific evidence by the vote count.
17· · · · · · You've got Wayne County, which essentially
18· Detroit.· 71 percent of the precincts don't balance.
19· What does that mean?· That means that in 71 percent
20· of the precincts in Detroit there were more votes
21· than voters.· So if there are more votes than voters,
22· that means that the rest of those votes are phoney.
23· They're phoney votes.· What could they be?· They
24· could be somebody going in and voting for Biden four
25· times.· One person votes four times, so now you end


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·1· up with more votes than voters.· It can mean some
·2· Democrat official getting in there and doing seven,
·3· eight, nine, ten, twelve votes while nobody's
·4· looking.· That's how you have more votes than voters
·5· because a physical voter didn't actually make that
·6· vote.· And of course, the Dominion machines were the
·7· machines that we used, which are basically built to
·8· cheat.
·9· · · · · · CHRISTIANA BOBB:· And we've seen a lot of this
10· information coming out, and I know your team, your legal
11· team has done a lot of work on this, and we've seen
12· mathematical anomalies, statistical anomalies, issues
13· with the machine, issues with ballots, issues dead
14· people voting, overvote.· You know, there's been a lot
15· of information that's come out, and the public seems to
16· have an outcry, and I know at OAN here we've heard from
17· a lot of our viewers that are very upset about it.· But
18· yet, there doesn't seem to be a lot of action from state
19· and local leaders.
20· · · · · · RUDY GIULIANI:· That's right.
21· · · · · · CHRISTIANA BOBB:· What are you seeing?
22· · · · · · RUDY GIULIANI:· Because of the censorship.             I
23· mean, this is unprecedented.· It's been going on now,
24· you know, for about four or five months.· It began with
25· the censorship of the Biden hard drive which shows that


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·1· the Biden family has been committing crimes for 30
·2· years.· That was completely ostracized, censored.· You
·3· never saw anything about it on ABC, NBC, CBS, high tech
·4· out of -- you can't get it on the internet.· They'll
·5· take it off.· They'll take you off the internet if you
·6· have it.· It's like you're living in Venezuela or China
·7· or the old Soviet Union.· It began with that.· That
·8· censorship never should have happened.
·9· · · · · · Now people are finding out what crooks the
10· Bidens are.· That information was available for a
11· year, and it was hidden, covered up by the press.
12· Now they're covering up the evidence of fraud.· It
13· would be a tragedy if we found out a year from now
14· just how this election was stolen.· We might as well
15· find it out right now and fix it.
16· · · · · · CHRISTIANA BOBB:· Absolutely.· And I know
17· you've been doing a lot of work on that, and your team
18· has made a lot of progress, and there is the possibility
19· that the state legislatures could choose the Trump
20· electors or, you know, some other method to come
21· forward, and I get the sense that a lot of the public
22· would be shocked and very surprised that that could
23· happen, but it is actually playing out but people aren't
24· talking about it.
25· · · · · · RUDY GIULIANI:· Each one of those legislatures


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·1· has more than enough evidence to decertify and certify
·2· Trump as the winner.· Certainly in Georgia it's on tape.
·3· I can show let to you on tape.· So people who say you
·4· shouldn't say fraud, I have to close my eyes to the
·5· truth.· I've got to the close my eyes to a videotape
·6· showing people stealing votes.· I can calculate the
·7· number because of the fact that there's a record of it.
·8· It's about 120,000 votes they stole.· Biden won Georgia
·9· by 10,000.· It wipes out his victory.· Trump then
10· actually won it by 110,000 votes.· And then there's
11· another 200,000 votes in Georgia that can be proven to
12· be fraudulent.
13· · · · · · In Michigan, in Michigan 71 percent -- 71
14· percent of the precincts in Wayne County, they don't
15· balance.· That means more people -- there were more
16· votes than people in 71 percent of the precincts.
17· · · · · · CHRISTIANA BOBB:· That's pretty high.
18· · · · · · RUDY GIULIANI:· Which means they were cheating
19· all over the city.· The city was awash with cheating.
20· · · · · · CHRISTIANA BOBB:· Right.· And in Antrim
21· County --
22· · · · · · RUDY GIULIANI:· And we're supposed to say
23· there was no cheating?· It wasn't like a little bit of
24· cheating.· 71 percent --
25· · · · · · CHRISTIANA BOBB:· That's a very high


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·1· percentage.
·2· · · · · · RUDY GIULIANI:· -- of the precincts in Wayne
·3· County cheated.
·4· · · · · · CHRISTIANA BOBB:· And we saw in the Antrim
·5· County report there was a 68 percent error rate.· The
·6· error rate was astronomical.
·7· · · · · · RUDY GIULIANI:· 68 percent error rate and
·8· 82 percent rejection rate.· Now, I don't even know that
·9· happens in a machine.· I didn't know a machine could do
10· this.· You think you go in and vote for Biden or Trump.
11· The machine decides it isn't clear enough and it puts it
12· in for adjudication.· And then some apparatchiks,
13· usually Democrat, gets to choose is your ballot clear
14· enough.· That was 82 percent in Antrim County.· And by
15· the way, in counties surrounding Detroit, three counties
16· it was over 80 percent.· So actually only 20 percent of
17· the people got the vote for sure that they made.· The
18· other 80 percent have no idea who they voted for.
19· · · · · · CHRISTIANA BOBB:· How do we get here?· It's
20· really shocking.· I think some people might have a hard
21· time grasping it because we think this is the United
22· States of America.· How are we at the point where
23· 20 percent of our votes count?
24· · · · · · RUDY GIULIANI:· We got here because the
25· Democrat Party, unfortunately at the very top, has


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·1· become exceedingly corrupt.· Not Democrats.· Democrats
·2· are honest people, no more honest or less honest than
·3· Republicans, not most Democratic politicians, but it was
·4· corrupted from the head.· It started with Bill Clinton.
·5· The leadership of the Democratic Party has been
·6· thoroughly corrupt since Bill Clinton and they believe
·7· they can do anything.· They believe they can commit
·8· crimes like the Bidens and have it covered up for them.
·9· They believe they can steal.· They stole a little, then
10· they stole more, then they stole more, and now they've
11· got a monumental theft and it's being covered up by the
12· press.· Why wouldn't they do it if they're not honorable
13· people if the press allows them to do it.
14· · · · · · I mean, the press and the Democrats are
15· accusing us of sedition because we say there's fraud.
16· What kind of strange world do we live in that I have
17· videotape of fraud.· I'm supposed to pretend it
18· doesn't exist?
19· · · · · · CHRISTIANA BOBB:· But we see similar
20· corruption or stalling tactics in the Republican Party
21· as well.· Isn't it fair to say that some of your
22· greatest obstacles are Republicans at the moment?
23· · · · · · RUDY GIULIANI:· Republicans are afraid.· I'm
24· not saying there aren't some Republicans who were crooks
25· also.· There are.· I mean, I put both in jail.· In fact,


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·1· there was a period of time which I thought it was pretty
·2· equal.· But I think at the top level the Democratic
·3· Party has become exceedingly corrupt.
·4· · · · · · Who would have thought that a sitting vice
·5· president of the United States would have a son
·6· taking money from Communist China and hide it and lie
·7· about it?· But not taking money, taking billions.
·8· Who would have thought that a man who's running for
·9· president two years before he ran for president would
10· go into partnership with Chinese Communists and
11· thinking he'd get away with it.· It shows you how
12· entitled they feel, the Democrats feel to violate our
13· laws, violate the general rules of our country and do
14· whatever they want to do.
15· · · · · · I mean, they just pulled off a tremendous
16· crime, and it is being covered up pretty effectively.
17· I mean, I am shocked that 50 percent of the American
18· people believe that there was fraud.· I don't know
19· how they got the information.· I guess OANN and a
20· couple other places, and I guess it's a credit to the
21· fact that still plenty of things get out on the
22· internet, and it's a credit to the intelligence of
23· our people that won't become just little sheep that
24· listen to everything the New York Times lies to them
25· about.


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·1· · · · · · CHRISTIANA BOBB:· All right.· January 6th is
·2· just a couple days away, just right around the corner,
·3· and then of course January 20th is a few days after
·4· that, about two weeks after that.· What happens over the
·5· next few days before Congress, you know, votes or comes
·6· into session on the 6th and then what happens after
·7· that?
·8· · · · · · RUDY GIULIANI:· Well, we worked very, very
·9· hard to try to get the legislatures, at least a few of
10· them to make the --
11· · · · · · (End of recording.)
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·2· · · · · · · · · ·CERTIFICATE OF REPORTER

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·4· · · · · · I, Charlotte Crandall, certify that I was

·5· authorized to and did transcribe the foregoing audio

·6· recorded proceedings and that the transcript is a

·7· true and complete record of my stenographic notes

·8· from an audio recording and was transcribed to the

·9· best of my ability.

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11· · · · · · Dated this 6th day of August, 2021.

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